                               REVERSE the order granting the motion to dismiss AND
                 REMAND this matter to the district court for further proceedings
                 consistent with this order.


                                                                                          J.
                                                             Hardesty


                                                                                          J.
                                                             Douglas



                 CHERRY, J., concurring:
                               For the reasons stated in the SFR Investments Pool 1, LLC v.
                 U.S. Bank, N.A.,    130 Nev. , 334 P.3d 408 (2014), dissent, I disagree
                 that respondent lost its lien priority by virtue of the homeowners
                 association's nonjudicial foreclosure sale. I recognize, however, that SFR
                 Investments    is now the controlling law and, thusly, concur in the
                 disposition of this appeal.

                                                                                        , J.




                 cc: Hon. Jessie Elizabeth Walsh, District Judge
                      Law Offices of Michael F. Bohn, Ltd.
                      Smith Larsen &amp; Wixom
                      Eighth District Court Clerk




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